     Case 2:16-cv-01768-KJM-CMK Document 40 Filed 09/06/17 Page 1 of 6


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13
     Black Bear Diner, Inc. (erroneously sued as
14   Bearfoot, Inc. and Strawberry Valley Food
     Service, Inc. dba Black Bear Diner)
15

16   Dana Christian, State Bar No. 107611
     Email: danasonya@hotmail.com
17   421 S Yellowstone Street
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18   Telephone: (406) 222-5812
19   Attorney for Defendant, Cross-Claimant and
     Cross-Defendant
20
     Gertrude A. Merrill, Trustee of the Douglas and
21   Gertrude Merrill 1999 Trust, and Cross-
     Defendants Richard Walton Merrill and Douglas
22   Ream Merrill, Individually and as Successor Co-
     Trustees of the Lucille F. Morgan Irrevocable
23   Living Trust No. 4, The Herbert Ream Merrill
     Trust B, The Richard’s Trust and
24   The Douglas Trust
25

26                        IN THE UNITED STATES DISTRICT COURT
27                       FOR THE EASTERN DISTRICT OF CALIFORNIA
28
                                                  1
                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AND [PROPOSED] ORDER
     FPDOCS 33203676.1
     Case 2:16-cv-01768-KJM-CMK Document 40 Filed 09/06/17 Page 2 of 6

     DIMAS O’CAMPO,                                   Case No. 2:16-cv-01768-KJM-CMK
 1
                    Plaintiff,
 2                                                    JOINT STIPULATION OF
            vs.                                       DISMISSAL WITH PREJUDICE
 3                                                    AND [PROPOSED] ORDER
     BEARFOOT, INC. dba BLACK BEAR
 4   DINER; STRAWBERRY VALLEY
     FOOD SERVICE, INC. dba BLACK
 5   BEAR DINER; GERTRUDE A.
     MERRILL, TRUSTEE of the
 6   DOUGLAS AND GERTRUDE
     MERRILL 1999 TRUST,
 7
                    Defendants.
 8                                                    Action Filed: July 28, 2016
     BLACK BEAR DINER, INC.
 9
                    Cross-Claimant,
10
            vs.
11
     GERTRUDE A. MERRILL, TRUSTEE
12   OF THE DOUGLAS AND
     GERTRUDE MERRILL 1999 TRUST;
13   RICHARD WALTON MERRILL AND
     DOUGLAS REAM MERRILL,
14   INDIVIDUALLY AND AS
     SUCCESSOR CO-TRUSTEES OF
15   THE LUCILLE F. MORGAN
     IRREVOCABLE LIVING TRUST NO.
16   4, THE HERBERT REAM MERRILL
     TRUST B, THE RICHARD’S TRUST,
17   AND THE DOUGLAS’ TRUST
18                  Cross-Defendants.

19          Plaintiff Dimas O’Campo (“Plaintiff”), Defendants and Cross-Claimants
20   Black Bear Diner, Inc. (erroneously sued as Bearfoot, Inc. and Strawberry Valley
21   Food Service, Inc. dba Black Bear Diner) (“Black Bear Diner”), Gertrude A. Miller
22   Trustee of the Douglas and Gertrude Merrill 1999 Trust (“the Trust Defendants”)
23   and Cross-Defendants Richard Walton Merrill, Douglas Ream Merrill, and
24   Gertrude A. Merrill (collectively, “the Parties”), by and through their undersigned
25   counsel, hereby agree and stipulate, pursuant To Federal Rules of Civil Procedure,
26   Rule 41(a)(1)(A)(ii), that the entire action and all claims in Plaintiff’s Complaint
27   and Cross-Claimant’s Complaint are hereby dismissed with prejudice as to future
28   ///
                                                  2
                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AND [PROPOSED] ORDER
     FPDOCS 33203676.1
     Case 2:16-cv-01768-KJM-CMK Document 40 Filed 09/06/17 Page 3 of 6


 1   action with each party to bear their or its respective costs, expenses and attorneys’
 2   fees.
 3

 4   DATE: September 6, 2017             Disabled Advocacy Group, APLC
 5

 6
                                           By: /s/ Stephanie L. Ross
 7                                             Scottlynn J. Hubbard
                                               Stephanie L. Ross
 8

 9                                              Attorneys for Plaintiff
                                                Dimas O’Campo
10

11   DATE: September 6, 2017             FISHER & PHILLIPS LLP

12

13                                         By: /s/ Alden J. Parker
14                                             Alden J. Parker
                                               Katherine P. Sandberg
15
                                                Attorneys for Defendants
16
                                                BLACK BEAR DINER, INC.
17                                              (erroneously sued as Bearfoot, Inc.
18                                              and Strawberry Valley Food Service, Inc.
                                                dba Black Bear Diner)
19

20   Dated: September 5, 2017
                                           By: /s/ Dana Christian
21                                             Dana Christian
22
                                                Attorney for Defendant, Cross-Claimant
23                                              and Cross-Defendant Gertrude A. Merrill,
                                                Trustee of the Douglas and Gertrude Merrill
24                                              1999 Trust, and Cross-Claimant and Cross-
                                                Defendants Richard Walton Merrill and
25                                              Douglas Ream Merrill, Individually and as
26                                              Successor Co-Trustees of the Lucille F.
                                                Morgan Irrevocable Living Trust No. 4, The
27                                              Herbert Ream Merrill Trust B, The
                                                Richard’s Trust and The Douglas Trust
28
                                                  3
                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AND [PROPOSED] ORDER
     FPDOCS 33203676.1
     Case 2:16-cv-01768-KJM-CMK Document 40 Filed 09/06/17 Page 4 of 6


 1                                   [PROPOSED] ORDER
 2          Good cause appearing, the above-referenced action is hereby DISMISSED
 3   WITH PREJUDICE as to all parties pursuant to Federal Rule of Civil Procedure
 4   41(a)(1) )(A)(ii). Each party shall bear their own costs, including attorneys’ fees.
 5          IT IS SO ORDERED.
 6
     DATED:
 7                                              HON. KIMBERLY J. MULLER
 8
                                                United States District Judge

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                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AND [PROPOSED] ORDER
     FPDOCS 33203676.1
     Case 2:16-cv-01768-KJM-CMK Document 40 Filed 09/06/17 Page 5 of 6


 1                                    PROOF OF SERVICE
 2         I, the undersigned, am employed in the County of Sacramento, State of
     California. I am over the age of 18 and not a party to the within action; am
 3   employed with the law    offices of Fisher & Phillips LLP and my business address
     is 1215 K Street, 17th Floor, Sacramento, CA 95814.
 4
          On September 6, 2017, I served the foregoing document entitled JOINT
 5 STIPULATION OF DISMISSAL WITH PREJUDICE AND [PROPOSED]
   ORDER, on all the appearing and/or interested parties in this action by placing
 6 the original  a true copy thereof addressed as follows:
 7           Scottlynn J. Hubbard IV                       Attorneys for Plaintiff
             Stephanie L. Ross                             Dimas O’Campo
 8           Disabled Advocacy Group, APLC
             12 Williamsburg Lane
 9           Chico, CA 95926
10

11
            [by MAIL] I am readily familiar with the firm's practice of collection and
            processing correspondence for mailing. Under that practice it would be
12          deposited with the U.S. Postal Service on that same day with postage thereon
13
            fully prepaid at Irvine, California in the ordinary course of business. I am
            aware that on motion of the party served, service is presumed invalid if
14          postage cancellation date or postage meter date is more than one day after
15          date of deposit for mailing this affidavit.

16           [by ELECTRONIC SUBMISSION] - I served the above listed
17          document(s) described via the United States District Court’s Electronic
            Filing Program on the designated recipients via electronic transmission
18          through the CM/ECF system on the Court’s website. The Court’s CM/ECF
19          system will generate a Notice of Electronic Filing (NEF) to the filing party,
            the assigned judge, and any registered users in the case. The NEF will
20          constitute service of the document(s). Registration as a CM/ECF user
21          constitutes consent to electronic service through the court’s transmission
            facilities.
22

23          FEDERAL - I declare that I am employed in the office of a member of the
            bar of this Court at whose direction the service was made.
24
            Executed September 6, 2017, at Sacramento, California.
25
       Alicia P. Malerbi                     By: /s/ Alicia P. Malerbi
26
                         Print Name                                  Signature
27

28

                                        PROOF OF SERVICE
     FPDOCS 33203676.1
     Case 2:16-cv-01768-KJM-CMK Document 40 Filed 09/06/17 Page 6 of 6

                                      PROOF OF SERVICE
 1
           I, the undersigned, am employed in the County of Sacramento, State of
 2   California. I am over the age of 18 and not a party to the within action; am
     employed with the law    offices of Fisher & Phillips LLP and my business address
 3   is 1215 K Street, 17th Floor, Sacramento, CA 95814.
 4        On September 6, 2017, I served the foregoing document entitled JOINT
   STIPULATION OF DISMISSAL WITH PREJUDICE AND [PROPOSED]
 5 ORDER, on all the appearing and/or interested parties in this action by placing
   the original   a true copy enclosed in a sealed envelope thereof addressed as
 6 follows:

 7           Dana Christian                                Attorney for Defendant,
 8           421 S Yellowstone Street                      Cross-Claimant and Cross-
             Livingston, MT 59047-3422                     Defendant
 9                                                         Gertrude A. Merrill, Trustee
10                                                         of the Douglas and Gertrude
                                                           Merrill 1999 Trust, and
11
                                                           Cross-Defendants Richard
12                                                         Walton Merrill and Douglas
                                                           Ream Merrill, Individually
13
                                                           and as Successor Co-Trustees
14                                                         of the Lucille F. Morgan
                                                           Irrevocable Living Trust No.
15
                                                           4, The Herbert Ream Merrill
16                                                         Trust B, The Richard’s Trust
                                                           and The Douglas Trust
17

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            [by MAIL] I am readily familiar with the firm's practice of collection and
19          processing correspondence for mailing. Under that practice it would be
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21          aware that on motion of the party served, service is presumed invalid if
            postage cancellation date or postage meter date is more than one day after
22
            date of deposit for mailing this affidavit.
23
            FEDERAL - I declare that I am employed in the office of a member of the
24
            bar of this Court at whose direction the service was made.
25
            Executed September 6, 2017, at Sacramento, California.
26
       Alicia P. Malerbi                     By: /s/ Alicia P. Malerbi
27                       Print Name                                 Signature

28
                                               6
                                        PROOF OF SERVICE
     FPDOCS 33203676.1
